 Case 2:20-cv-06408-RSWL-MRW Document 15 Filed 10/01/20 Page 1 of 2 Page ID #:61



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8     MIA LABOWITZ
9
                              UNITED STATES DISTRICT COURT
10
                             CENTRAL DISTRICT OF CALIFORNIA
11

12
     Mia Labowitz,                                Case No.: 2:20-cv-06408-RSWL-MRW
13
                    Plaintiff,

14       v.                                       PLAINTIFF’S REQUEST FOR
     7111 Melrose Partners, LLC, a Delaware       DISMISSALWITH PREJUDICE OF
15
     limited liability company; and Does 1-10,    ALL DEFENDANTS
16
                    Defendants.
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                                                  [Fed. R. Civ. P. Rule 41(a)(2)]
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              Plaintiff Mia Labowitz requests that, pursuant to Federal Rules of Civil

23   Procedure, Rule 41 (a)(1) and (2), this Court enter a dismissal with prejudice of
24   Defendant 7111 Melrose Partners, LLC, from Plaintiff’s Complaint, Case Number
25   2:20-cv-06408-RSWL-MRW. The parties herein reached settlement of the present
26   action. Each party will be responsible for their own fees and costs.
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                PLAINTIFF’S REQUEST FOR DISMISSALWITH PREJUDICE OF ALL DEFENDANTS
 Case 2:20-cv-06408-RSWL-MRW Document 15 Filed 10/01/20 Page 2 of 2 Page ID #:62



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2    Dated: September 25, 2020       H&S LAW GROUP, PLC

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                                    By: /s/Peter Shahriari
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                                        Peter Shahriari, Esq.
6                                       Attorneys for Plaintiff, Mia Labowitz
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            PLAINTIFF’S REQUEST FOR DISMISSALWITH PREJUDICE OF ALL DEFENDANTS
